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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA

ALEXANDER SHEPPARD,

v. Crim. No. 21-203 (JDB)

Defendant.

 

 

 

 

VERDICT FORM

With respect to the offense of obstruction of an official proceeding in violation of
18 U.S.C. §§ 1512(c)(2) and 2, we find the defendant Alexander Sheppard

Not Guilty e Guilty

. With respect to the offense of entering or remaining in a restricted building or grounds in
violation of 18 U.S.C. § 1752(a)(1), we find the defendant Alexander Sheppard

_ Not Guilty xX - Guilty

With respect to the offense of disorderly or disruptive conduct in a restricted building or
grounds in violation of 18 U.S.C. § 1752(a)(2), we find the defendant Alexander
Sheppard

Not Guilty K Guilty

(continued on next page)
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With respect to the offense of entering or remaining on the floor of Congress or the
Rayburn Room in violation of 40 U.S.C. § 5104(e)(2)(A), we find the defendant
Alexander Sheppard

XK Not Guilty Guilty

With respect to the offense of disorderly or disruptive conduct in a Capitol building in
violation of 40 U.S.C. § 5104(e)(2)(D), we find the defendant Alexander Sheppard

Not Guilty % Guilty

With respect to the offense of parading, demonstrating, or picketing in a Capitol building
in violation of 40 U.S.C.§ 5104(e)(2)(G), we find the defendant Alexander Sheppard

Not Guilty ) C Guilty

 

[12612o2>

Date Signature of Foreperson
